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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

   In re VALEANT PHARMACEUTICALS ) Master No. 3:15-cv-07658-MAS-LHG
   INTERNATIONAL, INC. SECURITIES )
   LITIGATION                      ) CLASS ACTION
                                   )
                                   ) Judge Michael A. Shipp
   This Document Relates To:       ) Magistrate Judge Lois H. Goodman
                                   )
          SECURITIES CLASS ACTION. ) Special Master Dennis M. Cavanaugh,
                                   ) U.S.D.J. (Ret.)
                                   ) MEMORANDUM IN SUPPORT OF
                                   ) MOTION FOR FINAL APPROVAL
                                   ) OF CLASS ACTION SETTLEMENT
                                   ) AND PLAN OF ALLOCATION




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   I.      INTRODUCTION

           Pursuant to Federal Rule of Civil Procedure (“Rule”) 23(e), Lead Plaintiff TIAA

   seeks final approval of the all-cash $1,210,000,000.00 Settlement that will resolve this

   securities class action against all Defendants and Former Defendants, except defendant

   PricewaterhouseCoopers, LLP (“PwC”), which is not a party to, or released by, the

   Stipulation.1 The Settlement is a remarkable result – the largest Private Securities

   Litigation Reform Act of 1995 (“PSLRA”) class action recovery ever against a

   pharmaceutical company, the largest in this District in almost two decades, and the

   ninth largest of all time. See Ex. B (ISS Report) at 5.

           The result is all the more extraordinary in light of Valeant’s financial condition

   and “the ability of the defendants to withstand a greater judgment.” Girsh v. Jepson,

   521 F.2d 153, 157 (3d Cir. 1975). In fact, Valeant’s stock price had collapsed more

   than 90% to around $20 per share by the time Lead Plaintiff filed its consolidated

   complaint and to less than $9 per share by 2017, with analysts questioning whether

   Valeant could declare bankruptcy. At the time of this filing, Valeant has around


   1
       Unless otherwise stated, capitalized terms used herein have the same meanings as
   provided in the Stipulation of Settlement, dated December 15, 2019 (the
   “Stipulation”), which is attached as Exhibit A to the Declaration of Christopher A.
   Seeger in Support of Motions for (1) Final Approval of Class Action Settlement and
   Plan of Allocation; and (2) an Award of Attorneys’ Fees and Expenses and Awards to
   Plaintiffs Pursuant to 15 U.S.C. §78u-4(a)(4) (“Seeger Declaration”), submitted
   herewith. Citations to “Ex. __” refer to exhibits to the Seeger Declaration. All
   citations and internal quotation marks are omitted and emphasis is added, unless
   otherwise indicated.

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   $25 billion in outstanding debt and its stock price has declined from trading around

   $32 per share during the month this Settlement was reached to as low as $13 per share

   in the month before this filing. See Ex. C (Valeant stock price history). Remarkably,

   the $1.21 billion Settlement was nearly 50% greater than the total amount of Valeant’s

   cash on hand at the time of Settlement, $825 million (as reported in the Company’s

   November 4, 2019 quarterly report on Form 10-Q), requiring Valeant to issue debt to

   raise sufficient capital to fund the Settlement. See Stipulation, ¶2.2; Ex. D.

           This outstanding recovery did not come easily or quickly. It was obtained

   through four years of hard-fought litigation among sophisticated parties and

   experienced counsel, and follows repeated and extensive arm’s-length mediation and

   settlement discussions overseen by an experienced mediator, Professor Eric D. Green,

   Esq. of Resolutions, LLC. By the time of settlement, the Settling Parties were well-

   informed of the strengths and weaknesses of their claims and defenses. In addition to

   having the benefit of this Court’s rulings on not just one or even two motions to

   dismiss, but no less than seven motions to dismiss, and motions for reconsideration

   and/or appeal thereof, Lead Plaintiff and Lead Counsel had engaged in an extensive

   investigation, retained five experts and consultants, and obtained and analyzed:

   (i) more than 11 million pages of documents produced from more than 20 Defendants

   and approximately 150 third parties; (ii) 11 deposition transcripts from related

   proceedings; (iii) Congressional testimony, including that by certain Defendants and a


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   former Valeant director; (iv) exhibits and testimony from the criminal trial and

   sentencing of a former Valeant executive and the former CEO of key third party

   Philidor Rx Services, LLC (“Philidor”); and (v) over 50 public videos consisting of

   media interviews of certain Defendants and witnesses.

           Lead Plaintiff respectfully requests that this Court grant final approval of both

   the Settlement and the Plan of Allocation. First, the Settlement easily satisfies each of

   the Rule 23(e)(2) and Third Circuit Girsh factors for final approval of a class action

   settlement. It is a fair, reasonable, and adequate resolution for the Class that balances

   the objective of securing the highest possible recovery with the recognition of the

   risks and costs of continued litigation, the risks inherent in Valeant’s financial position

   and, as with any complex case, the risk that the Class could receive nothing or an

   amount equal to or less than the Settlement Amount several years into the future.

   Accordingly, Lead Plaintiff and Lead Counsel believe the Settlement is not just in the

   best interests of the Class, but represents an exceptional result and should be

   approved.

           Second, the Plan of Allocation to distribute the Settlement to the Class was

   developed with Lead Plaintiff’s damages consultant to track Lead Plaintiff’s damages

   models, taking into account securities purchased, acquired, held, and sold. The Plan of

   Allocation treats the Class equitably by providing that each Class Member that




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    properly submits a valid Proof of Claim and Release form will receive a pro rata share

    of the monetary relief. It too is fair, reasonable, and adequate, and should be approved.

    II.     PROCEDURAL HISTORY

            A.          The Class Action Complaints

            The initial securities class action complaint was filed by Robbins Geller

    Rudman & Dowd LLP (“Robbins Geller”) four-and-a-half years ago on October 22,

    2015. ECF No. 1. On May 31, 2016, the Court appointed TIAA as Lead Plaintiff and

    Robbins Geller as Lead Counsel. ECF No. 67.

            On June 24, 2016, Lead Plaintiff TIAA filed its Consolidated Complaint for

    Violations of the Federal Securities Laws (“Complaint”). ECF No. 80. The

    Complaint alleged a complex fraudulent scheme and course of business pursuant to

    which Valeant and its senior insiders created and utilized a network of secretly

    controlled pharmacies, including Philidor, and relied on deceptive pricing and

    reimbursement practices, and fictitious accounting, to misrepresent Valeant’s

    business, operations, and financial performance. See id., ¶¶3-12, 21-131.

            At 280 pages long, the Complaint named 34 defendants, including Defendants,

    Former Defendants, and PwC, and alleged violations of Sections 10(b) and 20(a) under

    the Exchange Act, and Sections 11, 12(a)(2), and 15 under the Securities Act, based

    on, among other things, Defendants’ and Former Defendants’ alleged materially false

    and misleading statements or omissions regarding Valeant’s business operations and



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    financial performance, which had the effect of artificially inflating the price of Valeant

    Securities. See id., ¶¶13-17, 32-230, 551-728. Plaintiffs further alleged that as the

    truth regarding Valeant’s business, operations, and prospects was revealed through a

    series of 22 partial disclosures, artificial inflation was removed from the price of

    Valeant Securities, damaging members of the Class. See id., ¶¶18-26, 473-527.

            On September 20, 2018, Plaintiffs filed the First Amended Complaint (“FAC”),

    adding IBEW as an additional named plaintiff and insider trading claims under

    Section 20A of the Exchange Act against the ValueAct Defendants and Defendant

    Jeffrey W. Ubben (“Ubben”). ECF No. 352.

            B.          Motion Practice

            On September 13, 2016, Defendants, Former Defendants, and PwC filed a total

    of six Rule 12(b)(6) motions to dismiss the Complaint, arguing that Plaintiffs had not

    adequately pled, inter alia, false and misleading statements, a strong inference of

    scienter, loss causation, or standing. See ECF Nos. 164-169. The parties submitted

    nearly 400 pages of briefing and engaged in a lengthy oral argument. See id.; ECF

    Nos. 178, 184-188, 191, 196, 215. On April 28, 2017, the Court denied the motions in

    substantial part against Defendants, in full against PwC, but granted the motion to

    dismiss against the Former Defendants. ECF No. 216. On May 12, 2017, Defendant

    Deborah Jorn filed a motion for reconsideration of the Court’s April 28th opinion,




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    claiming that the Court failed to properly analyze allegations of scienter for her

    individually, which the Court subsequently denied. ECF Nos. 220, 256.

            On October 19, 2017, the Court issued an Order to Show Cause directing the

    parties to brief whether the Court should stay the action and other related opt-out

    litigation during the pendency of the criminal trial involving Philidor’s former CEO

    Andrew Davenport and former Valeant executive Gary Tanner, United States v.

    Tanner, No. 17-cr-61 (S.D.N.Y.). ECF No. 273. After submitting briefing, the parties

    provided the Court with a stipulation to stay certain discovery but continue document

    production by Valeant and PwC in response to Plaintiffs’ outstanding first requests for

    production. ECF Nos. 274, 279, 290. The Court entered the stipulation, and on

    June 5, 2018, lifted the stay following the jury’s conviction of Gary Tanner and

    Andrew Davenport on all charges. ECF Nos. 291, 316.

            Following notice from TIAA, on June 11, 2018, the Court issued a Letter Order

    consolidating into this action Timber Hill LLC v. Valeant Pharms. Int’l, Inc., No. 18-

    cv-10246 (D.N.J.), a newly-filed securities class action arising from the same facts

    and alleging violations of the same securities laws. ECF No. 318. Soon after, on

    June 18, 2018, Timber Hill LLC (“Timber Hill”) filed a motion seeking relief from the

    consolidation order, which Lead Plaintiff opposed. ECF Nos. 322-323. After

    briefing, the Court denied Timber Hill’s motion for relief as well as its motion for

    appointment as lead plaintiff for options investors. ECF No. 392.


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            On September 28, 2018, Plaintiffs served on Defendants their motion for class

    certification, accompanying memorandum of law, and supporting declarations and

    exhibits, which included two expert opinions on market efficiency. See ECF No. 474-3.

            Following Plaintiffs’ filing of the FAC to assert insider trading claims, the

    ValueAct Defendants and Defendant Ubben moved to dismiss the FAC on

    October 31, 2018, arguing, among other things, that Plaintiffs had not adequately

    alleged scienter nor that IBEW traded contemporaneously with the insider sales in

    June 2015. ECF No. 387. On November 13, 2018, the parties submitted a joint

    stipulation and proposed order agreeing to stay further party discovery during the

    pendency of that motion, while allowing discovery against the nearly 150 non-parties

    to continue. ECF No. 396. While the ValueAct Defendants and Defendant Ubben

    denied Plaintiffs’ allegations, after extensive briefing on the issues, the Court denied

    their motion to dismiss. See ECF Nos. 387, 401, 404, 463.

            On July 29, 2019, Defendant Ubben and the ValueAct Defendants filed a

    motion seeking certification for immediate appeal under 28 U.S.C. §1292(b) of the

    Court’s denial of their motion to dismiss. ECF No. 474. Plaintiffs opposed the

    motion.      ECF No. 482.    Following the appointment of the Honorable Judge

    Cavanaugh (Ret.) as Special Master, on December 4, 2019, Judge Cavanaugh entered

    an order denying the request. ECF No. 493.




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            With regard to discovery motion practice, on October 26, 2018, Plaintiffs also

    filed a motion to compel third parties Philidor and 34 Philidor-related entities to

    produce documents in response to Plaintiffs’ valid subpoenas. ECF No. 386.2

    Following briefing, on April 12, 2019, the Court issued a Letter Opinion and Order

    granting Plaintiffs’ motion. ECF No. 441. As a result, Philidor has produced more

    than one million documents.

            As reflected above, motion practice in this Litigation has been substantial, as

    Plaintiffs were required to submit 28 briefs totaling more than 450 pages.

            C.          Investigation, Fact Discovery, and Consultation with
                        Experts and Consultants

            To date, Lead Plaintiff and Lead Counsel have secured substantial information

    in support of their claims through both formal and informal discovery. See ECF No.

    80 at 1; ECF No. 80-1; Stipulation at 4; accompanying Declaration of James E. Barz

    in Support of Motions for (1) Final Approval of Class Action Settlement and Plan of

    Allocation; and (2) an Award of Attorneys’ Fees and Expenses and Awards to

    Plaintiffs Pursuant to 15 U.S.C. §78u-4(a)(4) (“Barz Decl.”), ¶¶5-6, 30-32; and

    Declaration of Robert J. Robbins Filed on Behalf of Robbins Geller Rudman & Dowd

    LLP in Support of Application for Award of Attorneys’ Fees and Expenses (“Robbins

    Geller Decl.”), ¶7(f), submitted herewith.

    2
      At the start of the Litigation, Lead Plaintiff also engaged in extensive motion
    practice relating to its attempt to lift the stay of discovery under the PSRLA against
    Valeant, Philidor, and Philidor-related entities. See, e.g., ECF Nos. 52, 65, 66, 75.

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            First, with regard to documents, discovery has been broad, directed at all

    Plaintiffs, all 25 Defendants and PwC, and approximately 150 third parties, and

    included the exchange of more than 13 million pages of documents. Collectively,

    Plaintiffs produced over 1.5 million pages of documents. During the Litigation, the

    parties engaged in numerous and lengthy meet and confers. After exchanging

    arguments in correspondence and lengthy phone calls, the parties were able to resolve

    the majority of disputes that might otherwise have resulted in motion practice, but

    were also preparing motions regarding unresolved issues at the time of the Settlement.

            Second, the parties also engaged in extensive written discovery. Plaintiffs

    served six sets of interrogatories and three sets of requests to admit on Defendants and

    PwC during the Litigation.

            Third, Lead Plaintiff accumulated witness statements and testimony from

    dozens of potential trial witnesses, including certain Defendants, from multiple

    sources. For example, Lead Counsel conducted interviews of former employees while

    also thoroughly analyzing the public record regarding Valeant, which included

    analysis of the Company’s SEC filings, conference call transcripts, presentations,

    analyst reports, and detailed investigative reporting regarding the topics at issue in the

    Litigation. Lead Counsel also obtained and analyzed transcripts, testimony, and

    prepared statements from two separate Congressional hearings before the House

    Oversight Committee and U.S. Senate Special Committee on Aging, related civil


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    cases involving Valeant employees and Defendants, trial and sentencing proceedings

    in the criminal trial against former Valeant and Philidor employees, and over 50

    public interviews of certain Defendants and witnesses relating to matters at issue in

    the Litigation. For example, with regard to Defendant Pearson (Valeant’s former

    CEO and Chairman of the Board), in addition to millions of relevant pages of

    production, Lead Counsel analyzed his deposition transcript in the related Allergan v.

    Valeant litigation, written and oral testimony before the U.S. Senate Special

    Committee on Aging, and over 20 media interviews conducted both prior to and

    subsequent to this Litigation being filed.

            Fourth, in addition to documents, written discovery, and testimonial evidence,

    Lead Counsel retained five experts/consultants in this case. Lead Counsel conferred

    with these experts/consultants, who also reviewed relevant documents and provided

    valuable insight and analysis on critical matters to the Litigation, such as the

    background of the pharmaceutical industry, the alleged improper practices by Valeant

    and Philidor as compared to industry norms, corporate governance practices,

    accounting and auditing matters, and expert analysis of loss causation, market

    efficiency, and damages. Lead Counsel used all of these sources of information to

    analyze and cull the key documents in the case, with assistance of internal forensic

    accountants and retained experts/consultants to select the “hot” and “critical”

    documents, which would have comprised the bulk of deposition and trial exhibits. In


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    addition, Lead Counsel identified the key witnesses in the case and the topics upon

    which each possessed information.

            In summary, given Lead Plaintiff’s thorough investigation and extensive

    discovery, by the time of the Settlement, Lead Plaintiff and Lead Counsel had

    extensive and detailed information regarding the strengths and weaknesses of the case

    based on having uncovered the best documents in the case and having developed an

    understanding of the likely trial testimony from key witnesses, as well as an

    understanding, through experts, of the industry, accounting, and damages issues to be

    proven at trial. All of this, combined with Lead Counsel’s extensive experience in

    securities fraud cases and trials, was more than sufficient to knowledgeably evaluate

    the relative strengths weaknesses of the claims and defenses.

            D.          Arm’s-Length Settlement Negotiations

            The Settling Parties engaged in extensive arm’s-length negotiations before

    Professor Green. See Stipulation, at 4-5; Barz Decl., ¶¶7-9. The first in-person

    mediation session occurred on September 17, 2018. In advance of mediation, the

    parties exchanged with each other and provided the mediator detailed mediation briefs

    addressing liability and damages. Given the sophistication of the parties involved,

    scope of claims, and magnitude of damages at issue, the mediation briefs were

    detailed and addressed the specific evidence and legal arguments each side would rely




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    upon. The first mediation session ended without a settlement agreement and with the

    parties far apart.

            Following the first mediation session, the Settling Parties continued with fact

    discovery and the briefing described above. In addition, the Settling Parties engaged

    in numerous follow-up teleconferences, phone calls, and e-mails with Professor

    Green. More than a year after the first mediation session, on November 6, 2019, the

    parties agreed to engage in a second in-person mediation session. In advance, the

    Settling Parties again exchanged detailed and updated mediation briefs with each

    other and Professor Green that addressed additional evidence uncovered in the

    Litigation as well as responding to the new arguments developed by each side. In

    total, Plaintiffs provided more than 100 exhibits with their mediation briefs. While

    the Settling Parties made progress and narrowed the gap during this second session,

    they again were unable to reach agreement.

            Thereafter, the parties continued discovery and were on the verge of filing

    motions to compel against each other relating to unresolved privilege disputes. They

    were also preparing for several noticed depositions. But, following additional

    negotiations, on November 20, 2019, Professor Green issued a mediator’s proposal to

    settle the case and gave each side several days to consider. The Settling Parties

    accepted the mediator’s proposal, agreeing to settle the claims of all Defendants and

    Former Defendants, but not PwC, in the amount of $1,210,000,000.00. After


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    extensive negotiation regarding the terms of the Settlement, on December 15, 2019,

    the Settling Parties executed the Stipulation, which sets forth the terms of the

    Settlement.

            E.          Preliminary Approval of the Settlement and Plan of
                        Allocation
            On January 21, 2020, Special Master Cavanaugh conducted a preliminary

    fairness hearing on Lead Plaintiff’s unopposed motion for preliminary approval of the

    Settlement. See Ex. E (hearing transcript). Counsel for Plaintiffs, Defendants, non-

    settling Defendant PwC, and (untimely) lead plaintiff movant Timber Hill all attended

    with an opportunity to be heard. See id. at 2-6. Lead Counsel argued that the

    Settlement warranted preliminary approval, Valeant’s counsel stated its support, no

    party or non-party in attendance objected, and the Special Master explained his

    reasoning and said an order granting preliminary approval would soon be entered. Id.

    at 8-13. On January 23, 2020, Special Master Cavanaugh entered the Order Granting

    Preliminary Approval Pursuant to Fed. R. Civ. P. 23(e)(1) and Permitting Notice to

    the Class, which preliminarily approved the Settlement as “fair, reasonable and

    adequate” and authorized that the Notice be sent to the Class. ECF No. 510

    (“Preliminary Approval Order”), ¶¶1, 7-8. The Preliminary Approval Order was

    adopted as an Order of this Court on February 5, 2020. ECF No. 515.




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    III.    LEAD PLAINTIFF HAS PROVIDED NOTICE TO THE CLASS
            IN COMPLIANCE WITH RULE 23 AND DUE PROCESS

            Rule 23(e) governs notice requirements for class action settlements. The Rule

    provides that “[t]he court must direct notice in a reasonable manner to all class

    members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1)(B). In

    addition, Rule 23(c)(2)(B) requires that a certified class receive “the best notice that is

    practicable under the circumstances, including individual notice to all members who

    can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B).

            Here, the Court-approved distribution of Notice and Summary Notice complies

    with Rule 23. The Notice apprises Class Members of (among other disclosures) the

    nature of the Litigation, the definition of the Class, the claims and issues in the

    Litigation, and the claims that will be released in the Settlement. The Notice also:

    (i) advises that a Class Member may enter an appearance through counsel if desired;

    (ii) describes the binding effect of a judgment on Class Members under Rule 23(c)(3);

    (iii) states the procedures and deadline for Class Members to exclude themselves from

    the Class and for objection to the proposed Settlement, the proposed Plan of

    Allocation, and the requested attorneys’ fees and expenses; (iv) states the procedures

    and deadline for submitting a Proof of Claim and Release form to recover from the

    Settlement; and (v) provides the date, time, and location of the Settlement Hearing.

            In addition, the Notice and Summary Notice also satisfy the PSLRA’s separate

    disclosure requirements (15 U.S.C. §78u-4(a)(7)) by, inter alia, stating: (i) the amount

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    of the Settlement determined in the aggregate and on an average per-share basis;

    (ii) that the Settling Parties do not agree on the average amount of damages per share

    that would be recoverable in the event Plaintiffs prevailed at trial, and stating the

    issue(s) on which the Settling Parties disagree; (iii) that Lead Counsel intends to make

    an application for an award of attorneys’ fees and expenses, including the amount of

    the requested fees and expenses determined on an average per-share basis; (iv) contact

    information for Lead Counsel; and (v) the reasons the Settling Parties are proposing

    the Settlement. The contents of the Notice and Summary Notice therefore satisfy all

    applicable requirements.

            The Court’s Preliminary Approval Order found that the form and content of the

    notice program here, as well as the methods for notifying the Class proposed on

    preliminary approval, “meet the requirements of Rule 23 of the Federal Rules of Civil

    Procedure, the Private Securities Litigation Reform Act of 1995 and due process,

    constitute the best notice practicable under the circumstances, and shall constitute due

    and sufficient notice to all Persons entitled thereto.” Preliminary Approval Order,

    ¶15. Pursuant to the Preliminary Approval Order, the Claims Administrator, Gilardi

    & Co. LLC (“Gilardi”), commenced mailing the Notice and Proof of Claim and

    Release form (“Notice Package”) on February 6, 2020.               See accompanying

    Declaration of Ross D. Murray Regarding Notice Dissemination, Publication, and

    Requests for Exclusion Received to Date (“Murray Decl.”), ¶5. On February 13,


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    2020, Gilardi published the Summary Notice in The Wall Street Journal and over the

    Business Wire. Id., ¶12. Additionally, on February 6, 2020, Gilardi posted copies of

    the Notice, Proof of Claim and Release, Stipulation, and Preliminary Approval Order

    on the website maintained for the Settlement, www.ValeantSecuritiesSettlement.com.

    Id., ¶14.

            This combination of individual first-class mail to all Class Members who could

    be identified with reasonable effort, supplemented by notice in an appropriate, widely-

    circulated publication, transmitted over the newswire, and set forth on internet

    websites, is typical of notice plans in securities class actions and constituted “the best

    notice . . . practicable under the circumstances.” Fed. R. Civ. P. 23(c)(2)(B); see also,

    e.g., In re Viropharma Inc. Sec. Litig., No. 12-2714, 2016 WL 312108, at *5 (E.D. Pa.

    Jan. 25, 2016) (approving similar notice and process in securities class action

    settlement).

            Out of the thousands of potential Class Members, as of this filing, there have only

    been requests for exclusion from the Settlement by certain plaintiffs in the 32

    previously-filed opt-out cases that are pending before this Court and ten individual

    investors, eight of whom failed to report any transactions of Valeant Securities, with the

    other two claiming net Class Period purchases of just 3 shares and 21 shares. Murray

    Decl., ¶16 and Ex. D thereto. To date, there has been a single objection to the

    Settlement by an individual who proposes the Settlement be increased to an amount that


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    would be roughly $25 billion without any explanation of how Valeant could fund such a

    settlement as it is exceedingly unlikely, if not completely unrealistic, to suggest there

    would be a market for another $25 billion in debt for a Company already carrying

    $25 billion in debt. Separately, there has been only one objection to the attorneys’ fee

    request, filed by an individual who suggests that attorneys’ fees should be limited to

    three to five times expenses in class actions, which is a method never endorsed by any

    court. See Memorandum in Support of Motion for an Award of Attorneys’ Fees and

    Expenses and Awards to Plaintiffs Pursuant to 15 U.S.C. §78u-4(a)(4) (“Fee Brief”),

    §IV.B. Both objections (which are included as exhibits hereto) will be addressed further

    in the reply brief, but, it is sufficient to note the Settlement appears to have the

    overwhelming support of the Class as of this filing.

    IV.     THE SETTLEMENT WARRANTS THIS COURT’S FINAL
            APPROVAL
            It is well established in this Circuit that the settlement of class action litigation

    is both favored and encouraged. See Ehrheart v. Verizon Wireless, 609 F.3d 590, 594-

    95 (3d Cir. 2010) (noting that the “strong presumption in favor of voluntary settlement

    agreements” is “especially strong in ‘class actions and other complex cases where

    substantial judicial resources can be conserved by avoiding formal litigation’”); In re

    Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d Cir. 2004) (“[T]here is an

    overriding public interest in settling class action litigation, and it should therefore be

    encouraged.”).

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            Rule 23(e)(2), as recently amended, identifies the following factors to be

    considered by a district court at final approval:

            (2) Approval of the Proposal. If the proposal would bind class
            members, the court may approve it only after a hearing and only on
            finding that it is fair, reasonable, and adequate after considering whether:

                        (A) the class representatives and class counsel have adequately
                        represented the class;

                        (B)   the proposal was negotiated at arm’s length;

                        (C) the relief provided for the class is adequate, taking into
                        account:

                              (i)   the costs, risks and delay of trial and appeal;

                              (ii) the effectiveness of any proposed method of
                              distributing relief to the class, including the method of
                              processing class-member claims;

                              (iii) the terms of any proposed award of attorney’s fees
                              including timing of payment; and

                              (iv) any agreement required to be identified under Rule
                              23(e)(3); and

                        (D) the proposal treats class members equitably relative to each
                        other.

    Rule 23(e)(2). These factors are to be considered alongside of, and largely overlap

    with, those set forth by the Third Circuit in Girsh:

            “. . . (1) the complexity, expense and likely duration of the litigation . . . ;
            (2) the reaction of the class to the settlement . . . ; (3) the stage of the
            proceedings and the amount of discovery completed . . . ; (4) the risks of
            establishing liability . . . ; (5) the risks of establishing damages . . . ;
            (6) the risks of maintaining the class action through the trial . . . ; (7) the
            ability of the defendants to withstand a greater judgment; (8) the range of
            reasonableness of the settlement fund in light of the best possible

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     23(e)(2)(C)(iv): relief provided for the
     class is adequate, taking into account
     any agreement required to be identified
     under Rule 23(e)(3).
     23(e)(2)(D): the settlement treats class Factor 2: the reaction of the class.
     members equitably.

            Overall, just as they supported preliminary approval, an examination of all the

    factors favors final approval.

            A.          Lead Plaintiff and Lead Counsel Have Adequately
                        Represented the Class
            The first factor of Rule 23(e)(2) considers the adequacy of representation for the

    Class. See Rule 23(e)(2)(A). This factor dovetails into the third Girsh factor, which

    focuses on the stage of the proceedings and the amount of discovery completed.

    Girsh, 521 F.2d at 157; see also Warfarin, 391 F.3d at 535 (noting similar

    considerations for applying presumption of fairness). Courts in the Third Circuit

    generally consider two components in assessing adequacy: “(1) the qualifications,

    experience, and general abilities of the plaintiffs’ lawyers to conduct the litigation, and

    (2) whether the interests of lead plaintiffs are sufficiently aligned with the interests of

    the absentees.” Schuler v. Medicines Co., No. 14-1149 (CCC), 2016 WL 3457218, at

    *4 (D.N.J. June 24, 2016).

            Here, after receiving several lead plaintiff motions, this Court appointed Lead

    Plaintiff and Lead Counsel to represent the Class. ECF No. 67. Lead Counsel is

    highly competent and possesses substantial experience in prosecuting complex


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    securities class actions in this Circuit and throughout the country. See Fee Brief,

    §IV.C; Robbins Geller Decl., Ex. G (firm resume); see also City of Sterling Heights

    Gen. Emps.’ Ret. Sys. v. Prudential Fin., Inc., No. 12-5275, 2015 WL 5097883, at *9

    (D.N.J. Aug. 31, 2015) (granting class certification and stating that it was “clear that

    [Robbins Geller] is highly qualified to represent the class”). In addition, Lead

    Plaintiff TIAA is an institutional investor with a substantial stake in the outcome of

    the Litigation. See Declaration of Laurie A. Gomez on Behalf of Lead Plaintiff TIAA

    (“TIAA Decl.”), submitted herewith. Like the other Class Members, TIAA seeks

    damages under the federal securities laws for losses suffered by its purchases or

    acquisitions of Valeant Securities during the Class Period at prices that were allegedly

    inflated by Defendants’ false and misleading statements. See, e.g., ECF Nos. 80,

    80-2, 323-3. Because TIAA is highly incentivized to pursue the same claims for the

    same damages as the Class, and has retained highly-competent counsel, TIAA is

    adequate. See, e.g., In re Schering-Plough Corp./ENHANCE Sec. Litig., No. 8-397

    (DMC)(JAD), 2012 WL 4482032, at *6 (D.N.J. Sept. 25, 2012) (holding adequacy

    met where lead plaintiff and the class both “claim that they purchased [the] securities

    during the Class Period and have been injured by the allegedly wrongful course of

    conduct at issue”).4


    4
       TIAA has also added Tucson and IBEW to serve as Class Representatives with
    standing for all claims alleged on behalf of the Class. See In re New Jersey Tax Sales
    Certificates Antitrust Litig., No. 12-1893 (MAS)(TJB), 2016 WL 5844319, at *5
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            Proving their adequacy, Lead Plaintiff and Lead Counsel have diligently

    prosecuted this case on behalf of the Class. Lead Plaintiff and Lead Counsel’s efforts

    have included, but were far from limited to, drafting two detailed complaints,

    opposing and defeating seven motions to dismiss with substantial briefing and lengthy

    oral argument, defeating a motion for reconsideration and a motion for interlocutory

    appeal, searching for and assisting Plaintiffs in producing over 1.5 million pages of

    documents, prevailing on a key motion to compel, obtaining and analyzing nearly

    11.5 million pages of documents produced by Defendants and approximately 150 third

    parties, preparing the motion and memorandum for class certification supported by

    two expert declarations, and engaging in a contentious negotiation process that

    spanned more than a year, including two in-person mediation sessions, resulting in the

    ninth largest PSLRA settlement of all time. See supra §II.A-D; Barz Decl., ¶¶5-16,

    30-33.

            Thus, Lead Plaintiff and Lead Counsel have adequately represented the Class

    under Rule 23(e)(2)(A), and, in satisfaction of the third Girsh factor, completed

    sufficient litigation and discovery to have “‘an adequate appreciation of the merits of

    the case.’” See Warfarin, 391 F.3d at 537; In re Lucent Techs., Inc., Sec. Litig., 307

    F. Supp. 2d 633, 644 (D.N.J. 2004) (approving $517 million settlement where

    plaintiffs had conducted a thorough investigation, analyzed more than three million

    (D.N.J. Oct. 3, 2016) (Shipp, J.) (holding adequacy met where plaintiffs represented
    interests for both types of claims alleged arising from the same allegations).

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    pages of documents, and retained and consulted with relevant experts); see also

    Schuler, 2016 WL 3457218, at *7 (approving settlement despite “no formal discovery”

    where lead counsel had conducted extensive investigation, briefed a motion to dismiss,

    consulted with an expert, and engaged in mediation). Bringing this experience and

    knowledge to bear, Lead Plaintiff and Lead Counsel believe the Settlement is in the

    best interests of the Class and request that the Court grant final approval. See Barz

    Decl., ¶16; TIAA Decl., ¶¶7-10; see also Alves v. Main, No. 01-789 (DMC), 2012 WL

    6043272, at *22 (D.N.J. Dec. 4, 2012) (Cavanaugh, J.) (“[C]ourts in this Circuit

    traditionally ‘attribute significant weight to the belief of experienced counsel that

    settlement is in the best interest of the class.’”), aff’d, 559 F. App’x 151 (3d Cir. 2014);

    Viropharma, 2016 WL 312108, at *11 (stating that courts “‘afford[] considerable

    weight to the views of experienced counsel regarding the merits of the settlement’”).

            B.          The Settlement Negotiations Were Conducted at Arm’s
                        Length and with an Experienced Mediator

            The second factor of Rule 23(e)(2) considers whether the Settlement was

    negotiated at arm’s length. See Rule 23(e)(2)(B); see also Warfarin, 391 F.3d at 535

    (citing arm’s-length negotiations as a factor for assessing presumption of fairness).

            As this Court has found in granting preliminary approval of the Settlement, and

    as detailed above, the proposed Settlement was the result of extensive arm’s-length

    and non-collusive negotiations. See Preliminary Approval Order, ¶5; supra in §II.D;

    Barz Decl., ¶¶7-9. Those negotiations spanned more than a year and involved

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    multiple mediation sessions, follow-up teleconferences, phone calls, and e-mail

    communications with Professor Green. The negotiations were vigorous and

    adversarial with highly-experienced counsel on both sides. In fact, the parties could

    not reach agreement despite those efforts, and the Settlement was reached only after

    Professor Green’s issuance of a “mediator’s proposal.” The Settlement Amount is

    larger than Valeant’s reported cash balance, requiring the payment to be structured

    and funded by the issuance of additional debt. In addition, the Litigation is ongoing

    against a non-settling defendant, PwC. All of these facts prove the arm’s length

    nature of the Settlement negotiations and clearly favor final approval. See Schuler,

    2016 WL 3457218, at *8 (finding that arm’s-length negotiations, “facilitated by an

    experienced mediator,” supported final approval and presumption of fairness);

    Viropharma, 2016 WL 312108, at *8 (stating the “‘participation of an independent

    mediator in settlement negotiations virtually insures [sic] that the negotiations were

    conducted at arm’s length and without collusion’”).

            C.          The Settlement Is Adequate Considering the Costs, Risks,
                        and Delay of Trial and Appeal

            The third factor of Rule 23(e)(2), which overlaps with several of the Girsh

    factors (i.e., factors 1, 4-9), instructs courts to consider the adequacy of the settlement

    relief in light of the costs, risks, and delay that trial and appeal would inevitably

    impose. See Fed. R. Civ. P. 23(e)(2)(C)(i). The issues considered within this factor

    also weigh in favor of final approval, as the relief is adequate considering the costs,

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    risks, and delay of continued litigation, which would require Plaintiffs to prove (and

    defeat Defendants’ counter-arguments regarding) falsity, materiality, scienter, loss

    causation, and damages at summary judgment, trial, and on any appeal.

                        1.   Risks of Establishing Liability and Damages
             “Securities fraud class actions are notably complex, lengthy, and expensive

    cases to litigate.” In re Par Pharm. Sec. Litig., No. 06-cv-3226 (ES), 2013 WL

    3930091, at *4 (D.N.J. July 29, 2013). This case was no exception. The stakes were

    high so the Defendants had a substantial financial incentive to, and did, raise virtually

    every conceivable defense to the claims, as exemplified by the lengthy motion to

    dismiss briefing and related motions for reconsideration and interlocutory appeal filed

    thereafter. Defendants have, and but for the Settlement would have continued to,

    vigorously challenge Plaintiffs’ ability to establish each element of the claims as to

    each of the Defendants. See, e.g., ECF No. 165-1 at 10-16; ECF No. 166-1 at 4-15;

    ECF No. 167-1 at 31-65; ECF No. 168-1 at 12-30; ECF No. 169-1 at 4-11; ECF No.

    387-1 at 13-39; Ex. F (Letter from Counsel for Defendants, Oct. 11, 2019) at 5

    (outlining defenses and arguments Defendants would pursue in the Litigation). For

    example, Defendants have asserted that: investors were not misled as to the risky

    nature of Valeant’s business because the pricing and business practices were publicly

    reported prior to the alleged corrective disclosures through various media articles; that

    they had no duty to disclose Valeant’s relationship with Philidor prior to October


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    2015; and, to the extent there was any wrongdoing, they were the victims of a rogue

    employee who has since been convicted of defrauding the Company by steering

    business to Philidor in exchange for personal kickbacks. See ECF No. 167-1 at 51-55;

    ECF No. 196 at 18, n.17; Ex. F (Defendants emphasizing that “[a] jury has determined

    that Valeant was defrauded by Philidor”); see also Fee Brief, §§II.D-E.

            Defendants have also vigorously challenged Lead Plaintiff’s ability to prove

    loss causation and damages, maintaining that the sheer number of corrective

    disclosures alleged (22) and volume of reporting regarding Valeant rendered the Class

    particularly vulnerable on this element. See generally ECF No. 167-1 at 9-16, 61-62.

    For example, Defendants have argued that the truth regarding Valeant’s pricing

    practices was disclosed during the Class Period in media articles and in a highly

    contentious acquisition battle with a competitor; that non-fraud related confounding

    information caused the stock drops, including speculation of regulatory action

    regarding pricing that did not come to fruition; and that certain analysts were aware of

    Philidor prior to the alleged corrective disclosures. See id.

            There is no doubt that Defendants would have relied on these arguments to

    attempt to blame investor losses on the actions of a rogue employee for which they

    could not be held accountable, or upon the disclosed business risks of their publicly

    disclosed non-traditional business model to either eliminate or substantially reduce

    recoverable damages, by, among other things, shortening the length of the Class


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    Period. Ultimately, each side would rely on expert testimony to present their loss

    causation arguments and damages estimates to a jury at trial. In the resulting “‘battle

    of experts,’ it is virtually impossible to predict with any certainty which testimony

    would be credited, and ultimately, which damages would be found to have been

    caused by actionable, rather than the myriad nonactionable factors such as general

    market conditions.’” Schuler, 2016 WL 3457218, at *7; see also PAR Pharm., 2013

    WL 3930091, at *6 (noting “the inherent unpredictability and risk associated with

    damage assessments in the securities fraud class-action context”).

            Prevailing upon these contested issues of liability and damages would subject

    the Class to considerable risk through class certification, summary judgment, trial, and

    the inevitable appeals.    The $1.21 billion Settlement is an outstanding result,

    providing an immediate recovery that eliminates the substantial expense, risk, and

    delay of advancing the Litigation through such a costly, lengthy, and uncertain battle.

    See Schuler, 2016 WL 3457218, at *7 (finding that the “uncertainty of success at trial

    and the certain, immediate benefit provided by the Settlement . . . weighs in favor of

    approval”); In re Merck & Co., Inc. Vytorin ERISA Litig., No. 08-CV-285 (DMC),

    2010 WL 547613, at *7 (D.N.J. Feb. 9, 2010) (Cavanaugh, J.) (observing that “there

    will necessarily be significant delay in recovery if this case is tried” and finding the

    “immediate recovery of more than $40 million” weighed in favor of final approval);

    In re Ins. Brokerage Antitrust Litig., 282 F.R.D. 92, 103 (D.N.J. 2012) (“By reaching


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    a favorable Settlement with most of the remaining Defendants prior to the disposition

    of Defendants’ renewed dismissal motions or even an eventual trial, Class Counsel

    have avoided significant expense and delay, and have also provided an immediate

    benefit to the Settlement Class.”).

                        2.   Risks Relating to Valeant’s Financial Condition

            While some of the aforementioned risks to proving liability and damages are

    present in other securities fraud cases, this case was uncommonly risky due to the

    uncertainty surrounding Valeant’s financial condition. In fact, the financial recovery

    in this case is most remarkable when evaluated in the context of Valeant’s uncertain

    financial position, which relates directly to Girsh factor number seven. Girsh, 521

    F.2d at 157 (listing “the ability of the defendants to withstand a greater judgment” as a

    factor for final approval).

            Valeant’s market capitalization reached nearly $90 billion during the Class

    Period. However, as the truth was revealed, Valeant’s stock price dropped by 90% to

    around $20 per share by the time the Complaint was filed, and to less than $9 per

    share by April 2017, with analysts questioning Valeant’s ongoing viability. See Fee

    Brief, §II.E; Exs. I-K. Accordingly, in addition to weighing the strengths and

    weaknesses of the arguments regarding liability and damages, Lead Counsel and its

    forensic accountants spent significant time analyzing Valeant’s financial statements,




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    stock price, and analyst and media reports to assess Valeant’s ability to pay. See Barz

    Decl., ¶¶11-12.

            At the time the Settling Parties accepted Professor Green’s mediator’s proposal,

    Valeant had roughly $825 million of cash on hand and $23 billion in debt, its market

    capitalization was around $10 billion (and is now billions lower at the time of this

    filing), and it was, and still is, facing potential liability in more than 30 opt-out cases,

    a Canadian securities class action, a RICO class action, government investigations,

    and other pending litigation. See Bausch Health Companies Inc., Quarterly Report

    (Form 10-Q) at 1, 5, 29-38 (Nov. 4, 2019) (showing cash, debt, and pending

    litigation); see also Fee Brief, §§II.A,E (discussing Valeant’s uncertain financial

    condition). Despite its limited resources and many other pending claims, the

    Settlement in this case is nearly 150% of Valeant’s cash on hand, requiring Valeant to

    issue additional debt to fund the Settlement, which makes it a particularly exceptional

    result in light of the risks of ongoing litigation. As further objective support of this

    assessment, after the Settlement was publicly announced, analysts following Valeant

    noted that the amount was “much larger than Street expectations.” See Fee Brief,

    §II.A (including a chart showing that the Settlement, as nearly 150% of cash, far

    exceeds settlements in other all-time best securities class action settlements); Ex. D

    (Company press release announcing issuance of debt to fund the Settlement).




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            This case is similar to Lucent, where Judge Pisano observed that a “dramatic

    and severe” decline in the company’s financial condition supported finding that the

    $517 million settlement was “extraordinary” because it was “one of the largest

    recoveries ever in a securities class action.” 307 F. Supp. 2d at 647. Here, Lead

    Plaintiff’s ability to obtain a settlement that more than doubles the recovery in Lucent,

    which makes it the ninth-largest PSLRA settlement ever, despite the decline in

    Valeant’s financial condition shows the Settlement is also “extraordinary.”

                        3.   The Settlement Falls Within the Range of
                             Reasonableness
            While not an enumerated factor of Rule 23(e)(2), the Settlement easily falls

    within “a range of reasonable settlements in light of the best possible recovery (the

    eighth Girsh factor) and . . . in light of all the attendant risks of litigation (the ninth

    factor).”      Merck/Vytorin, 2010 WL 547613, at *9.           In making a “range of

    reasonableness” assessment, courts do not need a precise estimate of damages. See

    New Jersey Tax Sales, 2016 WL 5844319, at *8 (granting final approval where “it is

    not possible to predict the precise value of damages that Plaintiffs would recover if

    successful”).

            Here, not only are securities fraud class actions complex and trials rare, making

    precise estimates of recoverable damages incredibly complex, but Valeant’s financial

    condition makes such a comparison pointless. For example, Valeant’s market

    capitalization declined by tens of billions of dollars from its Class Period high to its

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    current market capitalization of roughly $7 billion. Valeant’s cash on hand was far

    less than the Settlement Amount, and it has approximately $25 billion in outstanding

    debt. While the entire market capitalization decline is not recoverable as damages

    under the securities laws, any recovery at trial that exceeded Valeant’s ability to pay

    would be a hollow victory.

            For comparison, a primary argument Defendants advanced was that the truth

    had been revealed by, and no further damages were incurred after, October 30, 2015

    when there was extensive media regarding Valeant’s business practices, government

    and regulatory subpoenas had been issued, and Valeant announced it was closing

    Philidor. See, e.g., ECF No. 167-1 at 62. Accepting just that one argument, and

    assuming Lead Plaintiff defeated all of Defendants’ other loss causation arguments,

    the $1.21 billion Settlement results in a recovery of approximately 11.5% of the

    preliminary estimated maximum damages.           See Barz Decl., ¶14.       This is a

    conservative estimate because it assumes Valeant could satisfy a judgment in excess

    of $10 billion, which is highly improbable in light of its financial condition and

    competing debts and claims as discussed herein. Still, using this conservative

    estimate, the recovery here is many multiples of the 0.7% median percentage recovery

    of estimated losses in securities class actions where losses exceed $10 billion. See




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    Ex. G (NERA Report) at p. 35, fig. 27.5 While Lead Plaintiff and Lead Counsel were

    confident in their ability to defeat Defendants’ arguments, given Valeant’s financial

    condition and ability to pay, it is uncertain that doing so would have resulted in a

    higher recovery.

            Even without certainty as to the maximum judgment Valeant could withstand,

    which depends on unknowable events regarding its future financial performance

    between the Settlement and the time the case would be tried and appeals exhausted,

    the Court can easily find the Settlement falls within the range of reasonableness. For

    example, in Merck/Vytorin, the court stated that neither party presented an estimate of

    the maximum possible recovery but observed that it “appears that recovery would

    prove substantial in light of the billions of dollars grossed from global sales.” 2010

    WL 547613, at *9. Nevertheless, the court approved the settlement and held that “the

    potential costs of continued litigation along with potential recovery favors settlement,

    especially by way of comparison to settlement recovery in the amount of

    $41.5 million.” See id.; see also Wong v. Accretive Health, Inc., 773 F.3d 859, 863

    (7th Cir. 2014) (affirming settlement despite absence of any indication of maximum

    damages because damages quantification would have been contested and “resulted in



    5
        See also New Jersey Tax Sales, 2016 WL 5844319, at *9 (granting final approval
    to $9.6 million settlement recovering approximately 2.5% of estimated best possible
    recovery); Schuler, 2016 WL 3457218, at *8 (granting final approval to $4.2 million
    securities settlement recovering 4% of estimated damages).

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    a lengthy and expensive battle of the experts, with the costs of such a battle borne by

    the class – exactly the type of litigation the parties were hoping to avoid by settling”).

            Here, while the theoretical damages could exceed $10 billion, the costs and

    risks of ongoing litigation clearly favor the $1.21 billion Settlement, particularly since

    “the best possible recovery” was significantly reduced due to Valeant’s limited ability

    to pay. See id.; Lucent, 307 F. Supp. 2d at 648 (D.N.J. 2004) (noting that although

    losses were likely “billions of dollars,” the “best possible recovery here depended

    entirely on Lucent’s ability to pay” and approving settlement because it “represents ‘a

    very substantial portion of the likely recovery in this case, and is unquestionably better

    than another ‘possibility’ – little or no recovery at all’”). The Settlement is an

    excellent result, representing nearly 1.5 times Valeant’s reported cash balance and

    likely a significant percentage of the possible recovery given that the likelihood of

    Valeant paying 10 or 12 times its cash balance is highly improbable, particularly with

    more than $20 billion of outstanding debt. Thus, the Settlement falls well within the

    “range of reasonableness” and meets the eighth and ninth Girsh factors.

            D.          The Settlement Satisfies the Remaining Rule 23(e)(2)
                        Factors
            The remaining factors of Rule 23(e)(2) advise courts to consider: (i) the

    effectiveness of the proposed method for distributing relief; (ii) the terms of the

    proposed attorneys’ fees, including the timing of payment; (iii) the existence of any

    other “agreements”; and (iv) whether the settlement treats class members equitably

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    relative to each other. Fed. R. Civ. P. 23(e)(2)(C)(ii)-(iv); Fed. R. Civ. P. 23(e)(2)(D).

    These factors are also readily met.

                        1.   The Proposed Method for Distributing Relief Is
                             Effective
            As discussed above in §III and in the Murray Declaration, the method of the

    proposed notice and claims administration process is effective and provides Class

    Members with the necessary information to receive their pro rata share of the

    Settlement. The Notice and claims processes are similar to that commonly used in

    securities class action settlements and provide for straightforward cash payments

    based on the trading information provided. See supra §III; Murray Decl., Ex. A.

                        2.   Attorneys’ Fees Are Reasonable

            As set forth in the accompanying Fee Brief, Lead Counsel’s request for an

    award of attorneys’ fees was negotiated at the outset of the case by the Court-

    appointed Lead Plaintiff, is at or below the percentage awarded in similar cases, was

    fully disclosed in the Notice, and is reasonable and appropriate. Since this is an all-

    cash settlement and the entire Settlement Fund will be distributed to Class Members

    until it is no longer economically feasible to do so, there is no risk that counsel will be

    paid but Class Members will not. Cf. Eubank v. Pella Corp., 753 F.3d 718, 726-27

    (7th Cir. 2014) (rejecting settlement where attorneys would receive fees based on

    inflated settlement value, as defendants were likely to pay only a fraction of the

    purported settlement value to the class).

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                        3.   The Parties Have No Other Agreements Besides an
                             Agreement to Address Requests for Exclusion

            The Settling Parties have entered into a supplemental agreement, identified in

    the Stipulation (¶¶2.17, 7.3), which provides that Valeant will have the option to

    terminate the Settlement in the event that valid requests for exclusion from the Class

    exceed the criteria set forth in the Supplemental Agreement. This is standard practice

    for these cases and the Settling Parties have no other side agreement.

                        4.   Class Members Are Treated Equitably and the
                             Reaction of the Class Supports Final Approval

            The Class Members are treated equitably under the terms of the Stipulation,

    which provides that each Class Member that properly submits a valid Proof of Claim

    and Release form will receive a pro rata share of the monetary relief based on the

    terms of the Plan of Allocation. Importantly, the Stipulation does not release any

    claims against PwC, the only non-settling defendant, nor does it release any claim

    arising after the Class Period.


            Related to this Rule 23(e)(2)(D) factor, a final Girsh factor considers the

    reaction of the class in connection with the final approval of a class action settlement.

    See Girsh, 521 F.2d at 157. The reaction of the Class to the Settlement to date has

    been overwhelmingly positive, which supports the reasonableness of the Settlement

    and confirms that Class Members are treated equitably. More specifically, while

    431,576 Notice Packages have been mailed and the Summary Notice has been


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    published, only one objection to final approval of the Settlement and one objection to

    the fee have been received to date. See Murray Decl., ¶¶11-12. “The vast disparity

    between the number of potential class members who received notice of the Settlement

    and the number of objectors creates a strong presumption . . . in favor of the

    Settlement.” In re Cendant Corp. Litig., 264 F.3d 201, 235 (3d Cir. 2001); see also

    Lucent, 307 F. Supp. 2d at 643-44 (finding reaction of class favored final approval

    where court had received “about ten objections to the Settlement” and noting case

    where final approval was granted where “‘only’ 29 members of a class of 281

    objected”).

            While one objection was received to the Settlement, it is based on a desire for a

    larger recovery that is divorced from an assessment of the risks of ongoing litigation

    and Valeant’s current financial situation. And the single objection to the requested fee

    is based on a claim that lawyers should be paid three to five times their expenses,

    which has never been supported by any court for lawyers, and is certainly not a

    common method of compensating other professionals. See Fee Brief, §IV.B. These

    objections, and any others that are received before the May 6, 2020 deadline, will be

    addressed further in Lead Plaintiff’s reply in support of final approval to be filed on

    May 20, 2020. See Preliminary Approval Order, ¶¶24, 27.

            Thus, each factor identified under Rule 23(e)(2) and Girsh is satisfied.

    Moreover, the Third Circuit has held that there is a “presumption of fairness” for the


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    Settlement if certain of the factors are met, namely: “(1) the settlement negotiations

    occurred at arm’s length; (2) there was sufficient discovery; (3) the proponents of the

    settlement are experienced in similar litigation; and (4) only a small fraction of the

    class objected.” See Warfarin, 391 F.3d at 535. Since, for the reasons discussed

    herein, each factor is met, this Settlement is entitled to a presumption of fairness and

    Lead Plaintiff and Lead Counsel respectfully submit that the Settlement is fair,

    reasonable, and adequate, and request that it be approved.

    V.      THE COURT SHOULD APPROVE THE PLAN OF
            ALLOCATION
            The Notice contains the Plan of Allocation, detailing how the Settlement

    proceeds are to be divided among claiming Class Members. See Murray Decl., Ex. A

    at 5-12. “The ‘[a]pproval of a plan of allocation of a settlement fund in a class action

    is governed by the same standards of review applicable to approval of the settlement

    as a whole: the distribution plan must be fair, reasonable and adequate.’”

    Merck/Vytorin, 2010 WL 547613, at *6 (citing cases). In determining whether a plan

    of allocation is fair, reasonable, and adequate, “courts give great weight to the opinion

    of qualified counsel.” In re Schering-Plough Corp. Enhance ERISA Litig., No. 08-

    1432 (DMC)(JAD), 2012 WL 1964451, at *6 (D.N.J. May 31, 2012) (approving plan

    of allocation). Indeed, “[a]s numerous courts have held, a plan of allocation need not

    be perfect” and “‘need only have a reasonable, rational basis, particularly if

    recommended by experienced and competent class counsel.’” Christine Asia Co., Ltd.

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    v. Yun Ma, No. 1:15-md-02631(CM)(SDA), 2019 WL 5257534, at *15 (S.D.N.Y.

    Oct. 16, 2019).

            Here, the Plan of Allocation was drafted in consultation with Lead Counsel’s

    damages expert to fairly distribute the available Settlement proceeds based on Lead

    Plaintiff’s theory of damages and consistent with Lead Plaintiff’s allegations. See

    Barz Decl., ¶18. The Plan of Allocation distributes the Net Settlement Fund on a pro

    rata basis, as determined by the ratio that the Authorized Claimant’s Recognized

    Claim bears to the total Recognized Claims of all Authorized Claimants. See Murray

    Decl., Ex. A at 12. Calculation of a Recognized Claim will depend upon several

    factors, including when the securities were purchased, acquired, sold, or held. See id.

    at 5-12. This method of distributing settlement funds is fair, reasonable, and adequate,

    and has the support of Lead Counsel. See Barz Decl., ¶¶17-22; see also, e.g., Par

    Pharm., 2013 WL 3930091, at *8 (approving plan of allocation in securities class

    action settlement that was developed “with the assistance of [lead plaintiff’s] damages

    expert” and provides for distribution “on a pro rata basis based on a formula tied to

    liability and damages”); Viropharma, 2016 WL 312108, at *15 (approving similar

    plan of allocation).6


    6
       Purported class member, Timber Hill, attended the preliminary approval hearing
    and did not object to either the Settlement or the Plan of Allocation. Ex. E.
    Thereafter, Timber Hill attempted to object to the Plan of Allocation. ECF No. 517.
    That objection was premature but also without merit for the reasons set forth in Lead
    Plaintiff’s response, which is incorporated herein. ECF No. 522. While Timber Hill
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    VI.     CERTIFICATION OF THE CLASS REMAINS WARRANTED

            In presenting its motion for preliminary approval, Lead Plaintiff requested that

    the Court preliminarily certify the Class for settlement purposes so that notice of the

    proposed Settlement, the final approval hearing, and the rights of Class Members to

    request exclusion, object, or submit Proofs of Claim and Release could be issued. In

    its Preliminary Approval Order, the Court preliminarily certified the Litigation as a

    class action, for settlement purposes, on behalf “all Persons who purchased or

    otherwise acquired Valeant Securities between January 4, 2013 and March 15, 2016,

    inclusive.” Preliminary Approval Order, ¶¶2, 4-5; see also id., ¶¶2-3 (describing those

    excluded from the Class). Nothing has changed since the Court issued its Preliminary

    Approval Order to alter the propriety of the Court’s certification, and no potential

    Class Member has objected to class certification.7

            Accordingly, and for each of the reasons set forth in Lead Plaintiff’s motion for

    class certification and supporting declarations (Ex. H; ECF No. 474-3), the Court

    should finally certify, for settlement purposes, the Litigation on behalf of the Class

    and appoint Lead Plaintiff and named plaintiffs Tucson and IBEW as Class

    Representatives for the Class and Robbins Geller as Class Counsel.



    has not objected to final approval, if Timber Hill does, Lead Plaintiff will respond in
    its reply.
    7
      To the extent Timber Hill objected to preliminary class certification, that objection
    was waived, is without merit, and has not been re-raised. See supra n.6.

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    VII. CONCLUSION

            For all the reasons stated above and in the accompanying declarations and Fee

    Brief, Lead Plaintiff respectfully requests that the Court grant its motion for final

    approval of both the Settlement and the Plan of Allocation.

    DATED: April 22, 2020                    Respectfully submitted,
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